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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 JARED C. DOLAN
   JEREMY J. KELLEY
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00236-GEB
12
                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           [PROPOSED] FINDINGS AND ORDER
14
     NELLIE KESOYAN,                                     DATE: March 18, 2016
15                                                       TIME: 9:00 a.m.
                                  Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17
                                                 STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19
     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on March 18, 2016.
21
            2.      By this stipulation, defendant now moves to continue the status conference until April 1,
22
     2016, and to exclude time between March 18, 2016, and April 1, 2016, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes approximately 400 pages of documents as well as recorded phone calls. All of this
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            discovery has been either produced directly to counsel and/or made available for inspection and
27
            copying.
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                    b)     Counsel for defendant desires additional time to review the discovery and current

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30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          charges, consult with his client, and discuss potential resolutions of this matter.

 2                  c)     Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                  d)     The government does not object to the continuance.

 6                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of March 18, 2016 to April 1, 2016,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
     Dated: March 16, 2016                                    BENJAMIN B. WAGNER
21                                                            United States Attorney
22
                                                              /s/ JREEMY J. KELLEY
23                                                            JREEMY J. KELLEY
                                                              Assistant United States Attorney
24

25
     Dated: March 16, 2016                                    /s/ ALAN J. DONATO
26                                                            ALAN J. DONATO
27                                                            Counsel for Defendant
                                                              NELLIE KESOYAN
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30    PERIODS UNDER SPEEDY TRIAL ACT
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 3                                      FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED.

 5        Dated: March 18, 2016

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     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
